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 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3     United States of America,       ) Civil Action
                                       ) No. 17-CR-201
 4                        Plaintiff,   )
                                       ) STATUS CONFERENCE
 5     vs.                             ) PUBLIC TRANSCRIPT
                                       ) PORTIONS UNSEALED
 6     Paul Manafort, Jr.,             ) PER 4-17-18 ORDER
       Richard W. Gates, III,          ) Washington, DC
 7                                     ) Date: February 14, 2018
                          Defendants. ) Time: 9:30 a.m.
 8     ___________________________________________________________

 9                   TRANSCRIPT OF STATUS CONFERENCE
                                HELD BEFORE
10                THE HONORABLE JUDGE AMY BERMAN JACKSON
                       UNITED STATES DISTRICT JUDGE
11     ____________________________________________________________

12                            A P P E A R A N C E S

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 9
       ALSO PRESENT:
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11                                 Shay Holman

12       FBI Special Agent:        Omer Meisel

13
       Court Reporter:             Janice E. Dickman, RMR, CRR
14                                 Official Court Reporter
                                   United States Courthouse, Room 6523
15                                 333 Constitution Avenue, NW
                                   Washington, DC 20001
16                                 202-354-3267

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 1                 THE COURTROOM DEPUTY:      Good morning, Your Honor.

 2     We have this morning criminal case number 17-201-1 and -2,

 3     the United States of America v. Paul Manafort, Jr., and

 4     Richard W. Gates, III.      Both Mr. Manafort and Mr. Gates are

 5     present in the courtroom.

 6                 Will counsel for the parties please approach the

 7     lectern and identify yourself for the record.

 8                 MR. ANDRES:    Good morning, Your Honor.       Greg

 9     Andres, Andrew Weissmann, Kyle Freeny from the Special

10     Counsel's Office.     And with us at counsel table is

11     Supervisory Special Agent Omer Meisel.

12                 THE COURT:    All right.    Good morning.

13                 MR. WU:   Good morning, Your Honor.       Shanlon Wu,

14     and Mr. Walter Mack are here for Mr. Gates.

15                 THE COURT:    All right.    Good morning.

16                 MR. DOWNING:    Good morning, Your Honor.       Kevin

17     Downing and Tom Zehnle for Mr. Manafort.

18                 THE COURT:    All right.    Good morning.     I don't

19     know how much we can actually do today.         And I don't know

20     how much we can actually do on the public record today, but

21     we'll try to do some of it.

22                 I do want to address sealing issues first.          The

23     fact that this case is of significant public interest is not

24     a reason to seal things.       It's a reason to unseal things.

25     But it does support maintaining the privacy of the
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 1     defendant's private information; their addresses, their

 2     family members' addresses, their bank account numbers, the

 3     dollars in the bank accounts, their family members' personal

 4     information, and financial information that isn't part of

 5     the indictment.     Attorney-client communications are

 6     privileged and not public.       And Rule 60 requires that the

 7     government be scrupulous about not revealing information

 8     about ongoing investigations.

 9                 So, there's a lot of reasons why a lot of things

10     that people are telling me have to remain sealed and have to

11     remain private at the moment, but I think people are

12     overdoing it just a little bit.        The pleading I received Mr.

13     Gates last night, docket 176, doesn't actually have anything

14     private in it.     It just asks for more time.       So I'm going to

15     order that it be unsealed.

16                 Mr. Manafort's bond motion, I permitted it to be

17     filed under seal, but I've ordered that a redacted version

18     be posted, and I need that done by Friday.          The government's

19     response, docket 175, I'm going to grant you leave to file

20     the opposition under seal, but whatever aspects of it can be

21     filed on the public docket -- and I think there are aspects

22     of it that can -- need to be.       So that needs to be done by

23     Friday.

24                 That being said, while my goal is to include the

25     public as much as possible in these proceedings, there are a
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 1     number of issues I have to address here today that are going

 2     to require either bench conferences or sealed proceedings

 3     because they relate to attorney-client confidences or the

 4     details of financial arrangements.        And at some point these

 5     issues will be resolved and they will result in orders and

 6     the orders will be public.

 7                  So, with that, I guess I usually start each of

 8     these status conferences with talking about the status of

 9     discovery.    And hopefully that's something that you can

10     answer on the record.      Mr. Andres?

11                  MR. ANDRES:    Yes.   Good morning, Judge.     And there

12     is something that we would like to approach about.              I'll

13     tell you about discovery, but there are matters that we

14     would like to address with the Court at the bench.

15                  So with respect to discovery, we've, since the

16     last status conference, made several productions.           We're

17     going to make another production this week.          As we said last

18     time, we're largely completed with discovery.          What remains

19     are the rolling productions; that is, materials that we

20     continue to receive, whether pursuant to a subpoena or some

21     other process.     And obviously we try to get that out as

22     quickly as possible.       And then as we described last time,

23     there are other parts of the Special Counsel's Office, other

24     investigations, and we're going through the files of those

25     other investigations that don't relate principally to the
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 1     defense in this case or the charges in this case.           And we're

 2     looking through those files to make sure there's nothing in

 3     those that are discoverable, and we'll continue to produce

 4     those.

 5                 So, as with last time, we're substantially

 6     completed, but obviously it's an ongoing process.

 7                 THE COURT:    All right.    So, do you need to come to

 8     the bench now to --

 9                 MR. ANDRES:    I think it would just be appropriate,

10     Judge, because it would alert you to certain issues that may

11     come up along the proceedings.

12                 THE COURT:    Okay.

13                 THE COURT REPORTER:      Is this sealed?

14                 THE COURT:    Yes, this portion is sealed.

15                 (Bench conference.)

16                 THE COURT:    All right.    Do I have at least one

17     lawyer for each defendant who can hear?

18                 MR. DOWNING:    Yes.

19                 THE COURT:    Okay.

20                 MR. ANDRES:    So, Judge, I didn't want to -- I at

21     least wanted defense counsel to know what we wanted to talk

22     to the Court about, which is to update the Court about

23     certain grand jury matters, both in the Eastern District of

24     Virginia and here in the District of Columbia.          I think

25     those matters are more appropriately discussed ex parte, at
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 1     least in the first instance, and then if there are matters

 2     that should be disclosed to the defense, we'll certainly do

 3     that.   But I think for purposes of updating the Court on

 4     grand jury matters, we should do that ex parte.

 5                  THE COURT:    All right.   Well, you all, not ex parte,

 6     came up here last time and told me that indictments were

 7     anticipated and that they knew about them and that you had

 8     discussed with them whether they would be filed, and that

 9     they would be brought before today.        I was sort of hoping

10     that if they weren't, somebody would move to continue this

11     hearing so we wouldn't be doing this with everybody watching

12     us, not talking to them.       But here we are.

13                  So, I guess I don't really understand why you

14     could talk about it last time with everybody but you can't

15     talk about it this time.

16                  MR. ANDRES:   Sure.   So, Judge, we are aware

17     that -- something that has happened.         We want to update you

18     about that, but some of those matters are sealed.           And in light

19     of that, we wanted to proceed ex parte in the first place.

20                  As for continuing this conference, we talked to

21     defense counsel about that, but because there are other

22     issues relating to Mr. Gates's representation, bail,

23     etcetera, it seemed prudent -- or, defense wanted to proceed

24     with that.    So, we just need to now take it to the next

25     step.   Obviously, we've had conversations with the defense
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 1     counsel about the superseding -- I mean, about the Eastern

 2     District charges and other matters.        But I think what

 3     remains should be done ex parte.

 4                  THE COURT:    All right.   In terms of just enlightening

 5     me about the schedule, that has to be done ex parte?

 6                  MR. ANDRES:    I think this information would help you,

 7     alert you as to what should happen next on the scheduling.

 8                  MR. DOWNING:    We would object to ex parte

 9     communications.

10                  THE COURT:    I understand that.

11                  MR. DOWNING:    I understand that Mr. --

12                  THE COURT:    Wait.   Wait.   Wait.   You need to come

13     up here, near the microphone, so she can get you.

14                  MR. DOWNING:    I'm sorry.

15                  THE COURT:    And don't talk over me, so we can

16     have it.

17                  I understand your objection.      Your objection is

18     noted.   But until I hear what it is, I don't know that I can

19     solve your problem.       So, it does seem that they've been in

20     communication with you about what's coming down the road.

21     So, I need to hear what he has to say before I can order him

22     to tell it to you.      But your objection is noted.

23                  MR. DOWNING:    Thank you.

24                  MR. WU:   Just for the record, we'll join in the

25     objection.
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 1                 THE COURT:    All right.    While you're up here, I

 2     want to tell you a few other things.         I plan to go from this

 3     matter into discussing Manafort's bond issues and then at

 4     10:30 I plan to discuss Mr. Gates's representation issues.

 5     And I have summoned Mr. Green for that purpose as well, so

 6     he will be here.      Not the Mr. Green that bills.

 7                 MR. WU:    No comment, Your Honor.

 8                 THE COURT:    I'm sure you would like to see him

 9     faster.

10                 All right.    Well, how do you want to handle this?

11     Just have you guys step down.       And you can tell me what's

12     going on.    Let's do that right now.

13                 So this will continue to be sealed and the record

14     will reflect that the government is now going to speak to me

15     ex parte.

16                 So you can go back to counsel table.

17                 MR. ZEHNLE:    Your Honor, yes, if I might raise one

18     issue.    With respect to the filing of the supplemental

19     memorandum that you just addressed a moment ago for Mr.

20     Manafort's bond, we can certainly file that by Friday.

21     There's one thing in the minute order --

22                 THE COURT:    It isn't a supplemental, it's just a

23     redacted version of your supplemental -- of what you filed.

24                 MR. ZEHNLE:    The supplemental memorandum that we

25     filed that related to the motion for reconsideration.
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 1                 THE COURT:    Okay.

 2                 MR. ZEHNLE:     Okay.   The Court said to -- it's

 3      fine, redacted addresses, the financial information.            On

 4      page 2 of that memorandum there was a brief summary of what

 5      we had discussed in the sealed hearing on January 22nd.              So,

 6      I wanted the Court's guidance before I filed that because

 7      technically that's not an address, that's not financial

 8      information, but it's certainly under seal.         So I didn't

 9      know if the Court wanted me to redact that brief summary of

10      the January 22, or not.

11                 THE COURT:    Well, I think what I said then was

12      exactly what I had said at the original hearing, which is

13      that you had to have one or the other or both to satisfy.

14      So, you know, if you just want to change it to the Court has

15      emphasized that or something, without specifically

16      referencing -- I mean, I don't think it's -- I don't have a

17      problem with that.

18                 MR. ZEHNLE:     We don't either, Your Honor.         I just

19      want to make sure that I'm not talking about it.

20                 THE COURT:    We sealed the hearing because you were

21      telling me about his expenses and legal fees and things like

22      that.   I don't have a problem with that.

23                 MR. ZEHNLE:     Okay.

24                 MR. DOWNING:     And, Your Honor, just as a matter of

25      administration, we would like to address the Court regarding
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 1      discovery issues after we finish at the bench.

 2                  THE COURT:    Yes.   I would like to set a trial

 3      date.    I was planning to set a trial date today.        I can't

 4      set a trial date without knowing who co-counsel is going to

 5      be, so that's a little bit of a problem.         So we might be

 6      able to do it later this morning, we might have to get

 7      together early next week and do it.        I don't know the answer

 8      to that yet.    I was hoping to have an answer by yesterday at

 9      5 o'clock, but I didn't get one, so --

10                  (Whereupon defense counsel step back to counsel

11      table.   Remaining at the bench is government counsel only.)

12                  THE COURT:    All right.

13                  MR. ANDRES:    Thank you, Judge.     So, we did return

14      a super -- we did return -- the grand jury returned an

15      indictment in the Eastern District of Virginia yesterday

16      against Mr. Manafort; that's still sealed, which was the

17      purpose of doing this ex parte.

18                  Second, the government is planning on superseding

19      in this case this Friday, and we'll ask the grand jury to

20      return a superseding indictment against Mr. Manafort.             Both

21      of those instruments only charge Mr. Manafort because of the

22      ongoing nature of the negotiations with Mr. Gates.              We don't

23      know how that's going to resolve itself yet.         We have some

24      hope that it will happen in the next week to ten days.             And

25      our hope is that if, in fact, that happens, after that
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 1      happens, we can unseal both of those indictments, have Mr.

 2      Manafort arraigned here on the District of Columbia cases

 3      and proceed that way.

 4                  So we were uncomfortable with disclosing to the

 5      defense the fact that there's a sealed indictment in the

 6      Eastern District of Virginia.       But that's what's happening.

 7      I think both of those -- or, all three of those events

 8      substantially affect what the schedule is going forward.

 9      But, once we resolve with Mr. Gates, or not, we can then

10      unseal those indictments and the Court can proceed to have

11      an arraignment and have the schedule go forward that way.

12                  THE COURT:    Well, if there's not an agreement with

13      Mr. Gates, is he a codefendant in any of these?

14                  MR. ANDRES:    Yeah, if we don't resolve things with

15      Mr. Gates -- and I think we'll know that within the next ten

16      days -- then we would probably supersede on both of those

17      instruments, to include him in both of those.          But in light

18      of the negotiations, it would seem prudent to do that.

19                  THE COURT:    All right.    Well, is there any reason

20      why we can't call them back up here and have you say that

21      what you've told me is that you still intend to supersede

22      and you still intend to proceed in the Eastern District of

23      Virginia?   I mean, they already know the substance of the

24      pending indictment.

25                  MR. ANDRES:    Absolutely.
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 1                  THE COURT:    So there's nothing about that that's

 2      changed.

 3                  MR. ANDRES:    Correct.

 4                  THE COURT:    Well, just so they don't think that

 5      there's something else.

 6                  MR. ANDRES:    Yeah.

 7                  THE COURT:    I mean --

 8                  MR. ANDRES:    Yeah.   I mean, I think what we don't

 9      want to disclose, anything that's sealed.         We don't want to

10      disclose that Mr. Manafort is the only defendant in those.

11      But we can certainly say --

12                  THE COURT:    But I think you can say that you're

13      still intending to proceed to supersede and to proceed there

14      and the schedule is uncertain and is --

15                  MR. WEISMANN:    I think the thing that we're trying

16      to avoid is having -- we are hopeful that Mr. Gates's

17      situation will resolve itself quickly and that we will be in

18      front of the Court with the papers and the Court can

19      schedule the plea hearing.      We also are cognizant that if it

20      doesn't work out, we don't want to have Mr. Gates in a

21      position where the public knows he's intending to plead

22      guilty and the public -- the issues that are raised but

23      didn't --

24                  THE COURT:    But that's different than having

25      you -- Yes, I understand that.        Okay.
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 1                 Counsel, can you return to the bench?

 2                 (Defense counsel returns to the bench.)

 3                 THE COURT:    All right.     Based on what's been told

 4      to me, I just want to let you know that what was told to me

 5      is fundamentally that everything that you -- is not a change

 6      to what you already know; that are there are charges

 7      contemplated in the Eastern District of Virginia and that

 8      there are superseding charges contemplated here and that the

 9      timing is still uncertain.      But, it is not something else

10      that they're planning to do that they told me about that

11      they haven't told you about.

12                 So, that much I can tell you.        I think, given

13      that -- well, I, too, believe we need to set a trial date.

14      I don't think we can set a trial date until you see what the

15      new charges are because, you know, you won't know how long

16      it's going to take you to get ready.        So I'm also hamstrung

17      by the counsel issues, in terms of setting a trial date.

18      But I will let you put your position on the record about

19      setting a trial date and discovery.

20                 MR. DOWNING:     I understand that.     It doesn't make

21      any sense to me to take a futile position.         But I do think

22      that we should set a status conference for next week, so we

23      can come back here, because there are a lot of issues going

24      on.   But we, for Mr. Manafort, we ought to set a firm date

25      because that's what we're getting ready for.         I don't know
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 1      how much more time the government is asking for, but we do

 2      have a pending deadline on the 23rd for some motions that,

 3      obviously -- I don't know what the new one looks like, but I

 4      have a good idea.     So I don't think we need more than a week

 5      on that, if they're going to return something next week.

 6      But I don't know, so I think a status conference would be

 7      appropriate.

 8                 THE COURT:    I don't know either.      And I can set a

 9      status conference for the end of next week.         My problem with

10      that is, you know, then we have a million people sitting

11      here.   And maybe the better thing to do is just set it on

12      shorter notice, like --

13                 MR. DOWNING:     Okay.

14                 THE COURT:    -- kind of take it a day at a time and

15      see if something breaks one way or the other that makes it

16      clear what we need to do and when we need to do it.

17                 MR. DOWNING:     Okay.

18                 THE COURT:    But, I'm not exactly -- we're all sort

19      of in unchartered waters at this point.

20                 Did you want to say something?

21                 MR. MACK:    Just to make a comment to Mr. Wu

22      briefly, because he doesn't always trust me to say what I

23      should be saying.

24                 We do not know with any detail precisely what is

25      happening with respect to Mr. Gates because he will not tell
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 1      us.

 2                  MR. WU:   This may go to the 10:30 issues, Your

 3      Honor.    But I would put on the record, under seal, we do not

 4      feel we have any clarity from the government vis-a-vis what

 5      will happen to our client on these new charges, and that's

 6      the result of their feeling that their position is they

 7      cannot speak to us about that.

 8                  THE COURT:   All right.     But you were alerted at

 9      some point as to what the potential charges could be.

10      Because you had told me last time that you knew what they

11      were and you wanted to face them there.

12                  MR. WU:   Yes, I understand.     To be specific, last

13      time we were only aware of the potential second indictment

14      in Virginia.    As of yesterday we learned that there also was

15      likely to be, in addition to that, a superseding indictment

16      in D.C.

17                  THE COURT:   All right.

18                  MR. WU:   The particulars of those charges --

19                  THE COURT:   I understand, you're hamstrung.         Is

20      there any change in Mr. Manafort's point of view about the

21      Eastern District versus the District?        I think the only

22      thing I can imagine that's more unusual than the government

23      offering you the choice is the choice you're making.            But,

24      is there any further discussion about that?

25                  MR. DOWNING:    No.
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 1                 THE COURT:    All right.

 2                 MR. ZEHNLE:     Thanks, Judge.

 3                 (Open Court:)

 4                 THE COURT:    All right.

 5                 MR. WU:    Your Honor, may I just clarify one thing

 6      from the earlier discussion that you made on the record?

 7                 THE COURT:    Yes.

 8                 MR. WU:    Which is the pleading that Mr. Gates

 9      apparently filed last night, I think you referenced that.

10      Counsel of record has not seen that pleading.          I just want

11      to make that clear.     We double-checked.

12                 THE COURT:    Well, it's on the docket and it's

13      going to be unsealed.      It has now been docketed, so you

14      should now be able to see it, even if it was sealed, because

15      it's on the docket.     So now it will also be unsealed, so

16      anybody can see it.

17                 MR. WU:    I think the delay was because it was not

18      filed via ECF.

19                 THE COURT:    Right.    He filed it pro se.     I can

20      simply tell you that he asked me to put off the

21      consideration of the motion to withdraw for approximately a

22      week, and that is the sum total of what was in the document.

23      And now it's going to be public.

24                 MR. WU:    Thank you, Your Honor.

25                 THE COURT:    All right.     All right.    We have a
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 1      motions schedule in place.      The government took issue with

 2      the scheduling of briefs related to the 404(b) issue, and

 3      Mr. Manafort has weighed in on that and thought that --

 4      preferred the schedule I set to the one that the government

 5      recommended.

 6                 I think I need to have a trial date and a pretrial

 7      conference before I answer that question, although I do want

 8      to advise the Office of Special Counsel that I'm not sure

 9      that the government's proposal of waiting until eight weeks

10      before whatever the trial date is is going to work in

11      connection with all the other work that you're going to have

12      to do it get ready for the pretrial conference.

13                 The schedule was established with an understanding

14      that in advance of the pretrial conference, you're going to

15      file a pretrial statement with me that's going to identify

16      the exhibits and witnesses in advance of trial.          And the

17      defense can't do that if they don't know what the

18      allegations are that are going to be tried.

19                 So, I think there's going to come a point where

20      I'm going to order the government to inform the Court and

21      the defense of any 404(b) evidence it intends to introduce

22      so that they can explain to me why I should exclude it, you

23      can explain to me why I can include it, I can rule on it and

24      then we know what the universe is that's going to trial.

25      Which brings me to another point, which is that I believe
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 1      that this case needs a trial date.        I realize there are some

 2      circumstances that may make that impossible today, but I

 3      think it has to happen soon.

 4                 These defendants are presumed to be innocent, but

 5      they're facing serious charges that expose them to

 6      significant penalties and we have spent a lot of time being

 7      focused on everything but that.       We've been dealing with the

 8      minutia of bond and soccer practice and public relations and

 9      people changing their minds about where they want to live

10      and unsettled questions concerning representation since

11      October, and it's unacceptable.

12                 The nature of charges they have to face, the

13      evidence that they're going to have to respond to can't be a

14      mystery for long.     I don't think we can do it at this

15      minute, until we resolve certain fundamental issues that

16      have to be outside the public eye, but I expect to set

17      another status conference soon, at which a status -- a trial

18      date will be set.

19                 Mr. Downing, is there anything you want to say in

20      response to the discovery issues that were on the record?

21                 MR. DOWNING:     Thank you, Your Honor.      One, Mr.

22      Manafort joins you in wanting to set a firm trial date.            We

23      understand there's some issues that the Court has to deal

24      with today.    But, we would request that as soon as

25      practical, that that date get set.
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 1                 We do think we are rather late in the game to

 2      still be getting discovery from the government.          We got a

 3      dump yesterday.     We do have some issues that we think

 4      additional materials need to be produced that we have not

 5      reached agreement with the government on.         So we anticipate,

 6      in the middle of all this, starting to file discovery

 7      motions with the Court regarding those issues.          But to the

 8      extent we need to be back in this courtroom on short notice

 9      to set a trial date, we're prepared to do it.          Thank you.

10                 THE COURT:    All right.     Thank you.    I mean, I

11      think making rolling productions as more documents come to

12      you is different than producing what is already in your

13      possession or was in your possession when you decide to

14      bring these charges, and that should already be out the door

15      and in their hands.     I'm happy -- I'm not going to set a

16      schedule for the filing of discovery motions.          You file them

17      and that will prompt a schedule for a reply and an

18      opposition, and we'll take them up as we get them.

19                 Is there anything else -- there are two things

20      that I want to talk about that I do believe I need to talk

21      about in a sealed courtroom, notwithstanding the desire of

22      everyone in the courtroom to be here, and that is Mr.

23      Manafort's pending bond motion and the motion to withdraw

24      filed by counsel.

25                 Are there any other issues I can take up before I
     Case 1:17-cr-00201-ABJ Document 280 Filed 04/23/18 Page 21 of 72         21


 1      need to do that?     Are there any other issues anybody wanted

 2      me to take up today?     Mr. Wu?

 3                 MR. WU:    Your Honor, just to put our position on

 4      the record with regard to discovery matters.         We have been

 5      receiving further discovery, but based on what we have

 6      brought to your attention in the motion to withdraw, we have

 7      been unable to make any significant progress in terms of

 8      preparation or review or adhering to the Court's schedule

 9      with regard to substantive motion practice.

10                 THE COURT:    All right.     I think when we resolve

11      the issues that we need to resolve, if the motions for

12      continuances or extensions of time need to be filed, then

13      they'll be filed and we'll take them up at that time.            I

14      don't know what else to say at the moment.

15                 MR. WU:    Thank you, Your Honor.

16                 THE COURT:    All right.     Is there anything further

17      from the government right now?

18                 MR. ANDRES:     Judge, just to exclude time.         The

19      case has already been designated as complex.         There's a

20      motion schedule.     But we, in an excess of caution, move to

21      exclude time between now and the time of the -- there is a

22      hearing for motions scheduled in April, so between now and

23      the April hearing date, we would move to exclude time under

24      the Speedy Trial Act.

25                 THE COURT:    All right.     I'm not sure that's
     Case 1:17-cr-00201-ABJ Document 280 Filed 04/23/18 Page 22 of 72       22


 1      necessary either.     I think, certainly in Mr. Gates's case,

 2      some of the delay is attributable to Mr. Gates.

 3                 Mr. Manafort, what's your position about speedy

 4      trial and excluding the time between now and the next hearing?

 5                 MR. DOWNING:     We would like to take it under

 6      consideration, Your Honor.

 7                 THE COURT:    All right.     Well, you can let me know

 8      at the end of the week.      I mean, I think as soon as you file

 9      motions, the clock is going to stop ticking anyway and this

10      is a complex case and I don't think --

11                 MR. DOWNING:     I understand, but I think there also

12      are situations which could be non-excludable time and I

13      would like to take a little time to take a look at that.

14                 I would also ask you to, I guess, hold the

15      February 23rd motions deadline open until we can resolve the

16      issues that --

17                 THE COURT:    I don't know what you mean by hold it

18      open.   Right now --

19                 MR. DOWNING:     Well, right now they're due on the

20      23rd.

21                 THE COURT:    This is a motion that I don't think is

22      dependent on discovery.      You stood up and said, I think at

23      the very first status conference, that you wanted to file a

24      motion about the legitimacy of the indictment, just based on

25      the face of the indictment.       And then you filed a civil suit
     Case 1:17-cr-00201-ABJ Document 280 Filed 04/23/18 Page 23 of 72           23


 1      alleging the same thing.      And so, I don't -- I deliberately

 2      set an earlier schedule for the motion that would either

 3      obviate the case or just needs to be resolved up front.            So

 4      why can't that one be filed on time?

 5                 MR. DOWNING:     Your Honor, you just had a side bar

 6      about issues that obviously come into play with respect to

 7      that motion.

 8                 THE COURT:    All right.     Well, I'm not sure that's

 9      entirely true.    What it --

10                 MR. DOWNING:     I'm not either, so I --

11                 THE COURT:    All right.     All right.    Can you just

12      all approach the bench again?

13                 THE COURT REPORTER:      And sealed again?

14                 THE COURT:    Yes.

15                 (Bench discussion:)

16                 THE COURT:    I understand that in terms of things

17      like bills of particulars or challenging new charges, that

18      you can't challenge those until you see what they are.            But,

19      your fundamental problem with the case that is pending now

20      and the fact that you told me that on its face it doesn't

21      state a crime and that it was improper, can you go ahead and

22      brief that yet?

23                 MR. DOWNING:     I don't know what the indictment is

24      going to be by next week or the week after, until we get the

25      additional indictment that's going to supersede it.             That
     Case 1:17-cr-00201-ABJ Document 280 Filed 04/23/18 Page 24 of 72           24


 1      doesn't make any sense.

 2                   THE COURT:   All right.    Let's just -- you know, my

 3      problem is that we're all just going to end up being so

 4      backed up.

 5                   MR. DOWNING:    Right.   What we'll commit to, to the

 6      extent there aren't major changes, we can get those motions

 7      filed right away.     I don't have a problem with that.         But I

 8      really don't understand --

 9                   MR. WEISMANN:   Judge, could I just say that as the

10      Court knows and as counsel knows, our view with respect to

11      the civil action that's now before the Court is that that

12      was -- should properly be a motion in a criminal case.

13      There is nothing about the superseding indictment that they

14      would seek -- that would in any way change the legal issues

15      that were raised in that civil case --

16                   THE COURT:   Well, I think they had to -- they had

17      substantive issues related to the charges, in addition to

18      the overall concern about the legitimacy of the

19      investigation, and rather than having two motions and two

20      oppositions and two replies, it probably does make sense to

21      see what the indictment is before you move to dismiss it.

22      So that makes sense to me.      And I think we can have a phone

23      conference if and when there's a superseding indictment and

24      set a schedule.

25                   MR. DOWNING:    When it is appropriate.
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 1                   THE COURT:    All right.   That makes sense to me.

 2      All right.    Thank you.

 3                   (Open court:)

 4                   THE COURT:    All right.   At this point I'm going to

 5      close the courtroom to everyone but the government and Mr.

 6      Manafort and Mr. Manafort's counsel, after which I will take

 7      up a proceeding involving Mr. Gates and Mr. Gates's counsel,

 8      for which I don't know that I will need the United States,

 9      although I may want to hear from you at the beginning and

10      then excuse you.

11                   So let's start with the Manafort matter.           And

12      Mr. -- if the Gates people can hover, so that we can just

13      roll into that next.

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 1

 2                   CERTIFICATE OF OFFICIAL COURT REPORTER

 3

 4

 5                I, JANICE DICKMAN, do hereby certify that the above

 6      and foregoing constitutes a true and accurate transcript of

 7      my stenograph notes and is a full, true and complete

 8      transcript of the proceedings to the best of my ability.

 9                            Dated this 22nd day of February, 2018.

10

11

12                                  /s/________________________

13                                  Janice E. Dickman, CRR, RMR
                                    Official Court Reporter
14                                  Room 6523
                                    333 Constitution Avenue NW
15                                  Washington, D.C. 20001

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